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                                                        EASTERN DISTRICT OF WASHINGTON
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 7                                                          SEAN F. MCAVOY, CLERK
                                                           _______, DEPUTY
 8                                                           YAKIMA, WASHINGTON

 9                      UNITED STATES DISTRlCT COURT
10                 FOR THE EASTERN DISTRlCT OF WASHINGTON

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      UNITED STATES OF AMERlCA,
14                                               1:22-CR- 2096-MKD
                             Plaintiff,          INDICTMENT
15
16                    V.
                                                 Vio: 18 U.S.C. § 2252A(a)(2)(A), (b)(l):
                                                      Distribution of Child Pornography
17
      CHRISTOPHER LEE OSBORN,
18                                                      18 u.s.c. § 2253
                             Defendant.                 Forfeiture Allegations
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           The Grand Jury charges:
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           On or about April 14, 2021, within the Eastern District of Washington, the
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     Defendant, CHRISTOPHER LEE OSBORN, did knowingly distribute child
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     pornography, as defined in 18 U.S.C. § 2256(8)(A), using a means and facility of
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     interstate and foreign commerce, namely, the Internet, that had been mailed,
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     shipped and transported in interstate commerce by any means, including by
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     computer, to wit: images depicting minor and prepubescent children engaging in
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     INDICTMENT - 1
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 1 sexually explicit conduct, including but not limited to, actual and simulated sexual
 2 intercourse, and the lascivious exhibition of their genitals and pubic areas, in
 3 violation of 18 U.S.C. § 2252A(a)(2)(A), (b)(l).
 4                     NOTICE OF FORFEITURE ALLEGATIONS
 5         The allegations contained in this Indictment are hereby realleged and
 6 incorporated by reference for the purpose of alleging forfeitures.
 7         Pursuant to 18 U.S.C. § 2253, upon conviction of an offense in violation of
 8 18 U.S.C. § 2252A(a)(2)(A), (b)(l), as alleged in this Indictment, the Defendant,
 9 CHRISTOPHER LEE OSBORN, shall forfeit to the United States any visual
10 depiction described in section 2251, 2251A, 2252, 2252A, 2252B, or 2260 of this
11 chapter, or any book, magazine, periodical, film, videotape, or other matter which
12 contains any such visual depiction, which was produced, transported, mailed,
13 shipped or received in violation of this chapter; any property, real or personal,
14 constituting or traceable to gross profits or other proceeds obtained from such
15 offenses; and, any property, real or personal, used or intended to be used to commit
16 or to promote the commission of such offenses, or any property traceable to such
17 property, including, but not limited to, the following:
18        - LG Cell Phone LM K300TM Risio Teal.
19       If any of the property described above, as a result of any act or omission of the
20 Defendant:
21            a.        cannot be located upon the exercise of due diligence;
22            b.        has been transferred or sold to, or deposited with, a third party;
23               C.    has been placed beyond the jurisdiction of the Court;
24               d.    has been substantially diminished in value; or
25               e.    has been commingled with other property which cannot be
26                     divided without difficulty,
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     INDICTMENT - 2
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 1 the United States of America shall be entitled to forfeiture of substitute property
 2 pursuant to 21 U.S.C. § 853(p), as incorporated by 18 U.S.C. § 2253(b).
 3
 4         DATED this�y of September 2022.
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                                               A TRUE BILL
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     United State



15 Michae D. Murphy
16 Assistant United States Att01ney
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     INDICTMENT - 3
